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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF NEW YORK

                          UNITED STATES V. JOHN ZOURDOS, ET AL.
        CASE NO.:        5:20-CR-00298 (DNH)
        DATE:            November 1, 2021
        PRESIDING JUDGE: Hon. David N. Hurd

          X    GOVERNMENT        ____   DEFENDANT

EXHIBIT MARKED  DATE
                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 1-A                           2011 U.S. Individual Tax Return, Form 1040, for J. and H. Zourdos
 1-B                           2012 U.S. Individual Tax Return, Form 1040, for J. and H. Zourdos
 1-C                           2013 U.S. Individual Tax Return, Form 1040, for J. and H. Zourdos
 1-D                           2014 U.S. Individual Tax Return, Form 1040, for J. and H. Zourdos
 1-E                           2015 U.S. Individual Tax Return, Form 1040, for J. and H. Zourdos
 1-F                           2016 U.S. Individual Tax Return, Form 1040, for J. and H. Zourdos
 1-G                           2017 Application for Extension of Time, Form 1040, J/H Zourdos
  2                            2011-2018 IRS Account Transcripts, Form 1040, for J. and H. Zourdos
 3-A                           2011 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
 3-B                           2012 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
 3-C                           2013 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
 3-D                           2014 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
 3-E                           2015 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
 3-F                           2016 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
 3-G                           2017 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
 3-H                           2018 U.S. Individual Income Tax Return, Form 1040, D. Zourdos
  3-I                          2013 U.S. Amended Tax Income Tax Return, Form 1040X, D. Zourdos
  4                            2011-2018 IRS Account Transcripts, Form 1040, for D. Zourdos
 5-A                           2011 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
 5-B                           2012 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
 5-C                           2013 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
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EXHIBIT MARKED  DATE
                                                      EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 5-D                          2014 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
 5-E                          2015 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
 5-F                          2016 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
 5-G                          2017 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
 5-H                          2018 U.S. Individual Income Tax Return, Form 1040, R. Zourdos
  6                           2011-2018 IRS Account Transcripts, Form 1040, for R. Zourdos
                              2011 U.S. Income Tax Return for Corporation, Form 1120, HZ Dippin
 7-A
                              Donuts Inc.
                              2012 U.S. Income Tax Return for Corporation, Form 1120, HZ Dippin
 7-B
                              Donuts Inc.
                              2013 U.S. Income Tax Return for Corporation, Form 1120, HZ Dippin
 7-C
                              Donuts Inc.
                              2014 U.S. Income Tax Return for Corporation, Form 1120, HZ Dippin
 7-D
                              Donuts Inc.
                              2015 U.S. Income Tax Return for Corporation, Form 1120, HZ Dippin
 7-E
                              Donuts Inc.
                              2016 U.S. Income Tax Return for Corporation, Form 1120, HZ Dippin
 7-F
                              Donuts Inc
                              2017 U.S. Income Tax Return for Corporation, Form 1120, HZ Dippin
 7-G
                              Donuts Inc.
  8                           2011-2018 IRS Account Transcripts, Form 1120, HZ Dippin Donuts Inc.
                              2010 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-A
                              Donuts Inc.
                              2011 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-B
                              Donuts Inc.
                              2012 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-C
                              Donuts Inc.
                              2013 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-D
                              Donuts Inc.
                              2014 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-E
                              Donuts Inc.
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EXHIBIT MARKED  DATE
                                                      EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                              2015 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-F
                              Donuts Inc.
                              2016 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-G
                              Donuts Inc.
                              2017 U.S. Income Tax Return for Corporation, Form 1120, RDZ Dippin
 9-H
                              Donuts Inc.
  10                          2011-2018 IRS Account Transcripts, Form 1120, RDZ Dippin Donuts Inc.
                              2011 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-A
                              Inc.
                              2012 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-B
                              Inc.
                              2013 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-C
                              Inc.
                              2014 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-D
                              Inc.
                              2015 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-E
                              Inc.
                              2016 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-F
                              Inc.
                              2017 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-G
                              Inc.
                              2018 U.S. Income Tax Return for Corporation, Form 1120, ERD Empire
 11-H
                              Inc.
  12                          2011-2018 IRS Account Transcripts, Form 1120, ERD Empire Inc.
                              2013 Employer’s Quarterly Federal Tax Returns (BMFOLR), Forms 941,
 13-A
                              Q1-Q4, for HZ Dippin Donuts
                              2014 Employer’s Quarterly Federal Tax Returns (BMFOLR and Returns),
 13-B
                              Forms 941, Q1-Q4, for HZ Dippin Donuts
                              2015 Employer’s Quarterly Federal Tax Returns, Forms 941, Q1-Q4, for
 13-C
                              HZ Dippin Donuts
                              2016 Employer’s Quarterly Federal Tax Returns, Forms 941, Q1-Q4, for
 13-D
                              HZ Dippin Donuts
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                              2017 Employer’s Quarterly Federal Tax Returns, Forms 941, Q1-Q4, for
 13-E
                              HZ Dippin Donuts
  14                          2013-2019 IRS Account Transcripts, Forms 941, for HZ Dippin Donuts
                              2013 Employer’s Quarterly Federal Tax Returns (BMFOLR), Forms 941,
 15-A
                              Q1-Q4, for ERD Empire Inc.
                              2014 Employer’s Quarterly Federal Tax Returns (BMFOLR and Returns),
 15-B
                              Forms 941, Q1-Q4, for ERD Empire Inc.
                              2015 Employer’s Quarterly Federal Tax Returns, Forms 941, Q1-Q4, for
 15-C
                              ERD Empire Inc.
                              2016 Employer’s Quarterly Federal Tax Returns, Forms 941, Q1-Q4, for
 15-D
                              ERD Empire Inc.
                              2017 Employer’s Quarterly Federal Tax Returns, Forms 941, Q1-Q4, for
 15-E
                              ERD Empire Inc.
  16                          2013-2019 IRS Account Transcripts, Forms 941, for ERD Empire Inc.
  17                          2013-2019 IRS IRP Transcript, HZ Dippin as Payor
  18                          2013-2019 IRS IRP Transcript, ERD Empire Inc. as Payor
  19                          Certified File, IRS Examination of RDZ Dippin
 20-A                         Summary of Specified Items, Individual Tax Returns, for J/H Zourdos
 20-B                         Summary of Specified Items, Individual Tax Returns, for D. Zourdos
 20-C                         Summary of Specified Items, Individual Tax Returns, for R. Zourdos
  21                          Summary of Specified Items, Corporate Tax Returns, for HZ/RDZ Dippin
  22                          Summary, Listing of Tax Record Exhibits
 23-24                        OPEN
                              Signature Card and Account Information, Berkshire Bank Acct # 1634,
  25
                              Dippin Donuts (HZ)
 26-A                         2011 Statements, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 26-B                         2011 Deposits, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 26-C                         2011 Checks, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 27-A                         2012 Statements, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 27-B                         2012 Deposits, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 27-C                         2012 Checks, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 28-A                         2013 Statements, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 28-B                         2013 Deposits, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 28-C                         2013 Checks, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 29-A                         2014 Statements, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 29-B                         2014 Deposits, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 29-C                         2014 Checks, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
                              2015 Statements and Checks, Berkshire Bank Acct # 1634, Dippin Donuts
 30-A
                              (HZ)
 30-B                         2015 Deposits, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 30-C                         2015 Checks, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 31-A                         2016 Statements, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 31-B                         2016 Deposits, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 31-C                         2016 Checks, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
 31-D                         2016 Misc Transactions, Berkshire Bank Acct # 1634, Dippin Donuts (HZ)
  32                          Signature Card, Berkshire Bank Acct #1341, HZ Dippin
 33-A                         2016 Statements and Checks, Berkshire Bank Acct #1341, HZ Dippin
 33-B                         2016 Deposits, Berkshire Bank Acct #1341, HZ Dippin
 34-A                         2017 Statements and Checks, Berkshire Bank Acct #1341, HZ Dippin
 34-B                         2017 Deposits, Berkshire Bank Acct #1341, HZ Dippin
  35                          Wire Transactions, Berkshire Acct # 1341, for HZ Dippin
                              Signature Card and Account Information, Berkshire Bank Acct #7122, RDZ
  36
                              Dippin Donuts
 37-A                         2011 Statements, Berkshire Bank Acct #7122, RDZ Dippin Donuts
 37-B                         2011 Deposits, Berkshire Bank Acct #7122, RDZ Dippin Donuts
 37-C                         2011 Checks, Berkshire Bank Acct #7122, RDZ Dippin Donuts
 38-A                         2012 Statements, Berkshire Bank Acct #7122, RDZ Dippin Donuts
 38-B                         2012 Deposits, Berkshire Bank Acct #7122, RDZ Dippin Donuts
 38-C                         2012 Checks, Berkshire Bank Acct #7122, RDZ Dippin Donuts
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EXHIBIT MARKED  DATE
                                                      EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                              2013 Statements and Checks, Berkshire Bank Acct #7122, RDZ Dippin
 39-A
                              Donuts
 39-B                         2013 Deposits, Berkshire Bank Acct #7122, RDZ Dippin Donuts
                              2014 Statements and Checks, Berkshire Bank Acct #7122, RDZ Dippin
 40-A
                              Donuts
 40-B                         2014 Deposits, Berkshire Bank Acct #7122, RDZ Dippin Donuts
                              2015 Statements and Checks, Berkshire Bank Acct #7122, RDZ Dippin
 41-A
                              Donuts
 41-B                         2015 Deposits, Berkshire Bank Acct #7122, RDZ Dippin Donuts
                              2016 Statements and Checks, Berkshire Bank Acct #7122, RDZ Dippin
 42-A
                              Donuts
 42-B                         2016 Deposits, Berkshire Bank Acct #7122, RDZ Dippin Donuts
                              2017 Statements and Checks, Berkshire Bank Acct #7122, RDZ Dippin
 43-A
                              Donuts
 43-B                         2017 Deposits, Berkshire Bank Acct #7122, RDZ Dippin Donuts
  44                          Misc Transactions, Berkshire Bank Acct #7122, RDZ Dippin Donuts
                              Signature Card and Account Information, Berkshire Bank Acct #4229, ERD
  45
                              Empire
 46-A                         2011 Statements, Berkshire Bank Acct #4229, ERD Empire
 46-B                         2011 Deposits, Berkshire Bank Acct #4229, ERD Empire
 46-C                         2011 Checks, Berkshire Bank Acct #4229, ERD Empire
 47-A                         2012 Statements, Berkshire Bank Acct #4229, ERD Empire
 47-B                         2012 Deposits, Berkshire Bank Acct #4229, ERD Empire
 47-C                         2012 Checks, Berkshire Bank Acct #4229, ERD Empire
 48-A                         2013 Statements and Checks, Berkshire Bank Acct #4229, ERD Empire
 48-B                         2013 Deposits, Berkshire Bank Acct #4229, ERD Empire
 48-C                         2013 Checks, Berkshire Bank Acct #4229, ERD Empire
 49-A                         2014 Statements and Checks, Berkshire Bank Acct #4229, ERD Empire
 49-B                         2014 Deposits, Berkshire Bank Acct #4229, ERD Empire
 49-C                         2014 Checks, Berkshire Bank Acct #4229, ERD Empire
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EXHIBIT MARKED  DATE
                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 50-A                         2015 Statements and Checks, Berkshire Bank Acct #4229, ERD Empire
 50-B                         2015 Deposits, Berkshire Bank Acct #4229, ERD Empire
 51-A                         2016 Statements and Checks, Berkshire Bank Acct #4229, ERD Empire
 51-B                         2016 Deposits, Berkshire Bank Acct #4229, ERD Empire
 52-A                         2017 Statements and Checks, Berkshire Bank Acct #4229, ERD Empire
 52-B                         2017 Deposits, Berkshire Bank Acct #4229, ERD Empire
 53-A                         Signature Card, Berkshire Bank Acct #3127, John Zourdos
 53-B                         2013-2016 Statements, Berkshire Bank Acct #3127, John Zourdos
 53-C                         2013 Deposits, Berkshire Bank Acct #3127, John Zourdos
 53-D                         2014 Deposits, Berkshire Bank Acct #3127, John Zourdos
 53-E                         2015 Deposits, Berkshire Bank Acct #3127, John Zourdos
 53-F                         2016 Deposits, Berkshire Bank Acct #3127, John Zourdos
 53-G                         2013-2016 Cash Withdrawals, Berkshire Bank Acct #3127, John Zourdos
 54-A                         Signature Card, Berkshire Bank Acct #9466, John Zourdos
 54-B                         2016 Statements, Berkshire Bank Acct #9466, John Zourdos
 54-C                         2016 Deposits, Berkshire Bank Acct #9466, John Zourdos
 54-D                         2016 Checks, Berkshire Bank Acct #9466, John Zourdos
 54-E                         Wire Transactions, Berkshire Acct # 9466, for John Zourdos
 55-A                         Signature Card, Berkshire Bank Acct #1468, Helen Zourdos
 55-B                         2013-2016 Statements, Berkshire Bank Acct #1468, Helen Zourdos
 55-C                         2013 Deposits, Berkshire Bank Acct #1468, Helen Zourdos
 55-D                         2014 Deposits, Berkshire Bank Acct #1468, Helen Zourdos
 55-E                         2015 Deposits, Berkshire Bank Acct #1468, Helen Zourdos
 55-F                         2016 Deposits, Berkshire Bank Acct #1468, Helen Zourdos
                              Misc. cash withdrawals, certified checks, and deposits, Berkshire Bank Acct
 56-G
                              #1468, Helen Zourdos
  57                          Signature Card, Berkshire Bank Acct #3213, Helen Zourdos
 58-A                         2011 Statements, Berkshire Bank Acct #3213, Helen Zourdos
 58-B                         2011 Deposits, Berkshire Bank Acct #3213, Helen Zourdos
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EXHIBIT MARKED  DATE
                                                   EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 58-C                      2011 Checks, Berkshire Bank Acct #3213, Helen Zourdos
 59-A                      2012 Statements, Berkshire Bank Acct #3213, Helen Zourdos
 59-B                      2012 Deposits, Berkshire Bank Acct #3213, Helen Zourdos
 59-C                      2012 Checks, Berkshire Bank Acct #3213, Helen Zourdos
 60-A                      2013 Statements, Berkshire Bank Acct #3213, Helen Zourdos
 60-B                      2013 Deposits, Berkshire Bank Acct #3213, Helen Zourdos
 60-C                      2013 Checks, Berkshire Bank Acct #3213, Helen Zourdos
 61-A                      2014 Statements, Berkshire Bank Acct #3213, Helen Zourdos
 61-B                      2014 Deposits, Berkshire Bank Acct #3213, Helen Zourdos
 61-C                      2014 Checks, Berkshire Bank Acct #3213, Helen Zourdos
 62-A                      2015 Statements, Berkshire Bank Acct #3213, Helen Zourdos
 62-B                      2015 Deposits, Berkshire Bank Acct #3213, Helen Zourdos
 62-C                      2015 Checks, Berkshire Bank Acct #3213, Helen Zourdos
 63-A                      2016 Statements, Berkshire Bank Acct #3213, Helen Zourdos
 63-B                      2016 Deposits, Berkshire Bank Acct #3213, Helen Zourdos
 63-C                      2016 Checks, Berkshire Bank Acct #3213, Helen Zourdos
 64-A                      2017 Statements, Berkshire Bank Acct #3213, Helen Zourdos
 64-B                      2017 Deposits, Berkshire Bank Acct #3213, Helen Zourdos
 64-C                      2017 Checks, Berkshire Bank Acct #3213, Helen Zourdos
 64-D                      Miscellaneous Transactions, Berkshire Bank Acct #3213, Helen Zourdos
                           Misc. Cash Deposits/Withdrawals by Helen/Dimitrios Zourdos, Berkshire
 64-E
                           Acct 3213
 66-A                      Signature Card, Berkshire Bank Acct #4103, Dimitrios and Helen Zourdos
 66-B                      Statements, Berkshire Bank Acct #4103, Dimitrios and Helen Zourdos
 66-C                      2013 Deposits, Berkshire Bank Acct #4103, Dimitrios and Helen Zourdos
 66-D                      2014 Deposits, Berkshire Bank Acct #4103, Dimitrios and Helen Zourdos
 66-E                      2015 Deposits, Berkshire Bank Acct #4103, Dimitrios and Helen Zourdos
 66-F                      2016 Deposits, Berkshire Bank Acct #4103, Dimitrios and Helen Zourdos
 67-A                      Signature Cards, Berkshire Bank Acct #3373, Dimitrios and Helen Zourdos
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EXHIBIT MARKED  DATE
                                                      EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 67-B                         Statements, Berkshire Bank Acct #3373, Dimitrios and Helen Zourdos
 67-C                         2013 Deposits, Berkshire Bank Acct #3373, Dimitrios and Helen Zourdos
                              2013 Withdrawals, Berkshire Bank Acct #3373, Dimitrios and Helen
 67-D
                              Zourdos
 68-A                         Signature Card, Berkshire Bank Acct #3650, Dimitrios Zourdos
 68-B                         2011 Statements, Berkshire Bank Acct #3650, Dimitrios Zourdos
 68-C                         2011 Deposits, Berkshire Bank Acct #3650, Dimitrios Zourdos
 68-D                         2011 Checks, Berkshire Bank Acct #3650, Dimitrios Zourdos
 69-A                         2012 Statements, Berkshire Bank Acct #3650, Dimitrios Zourdos
 69-B                         2012 Deposits, Berkshire Bank Acct #3650, Dimitrios Zourdos
 70-A                         2013 Statements, Berkshire Bank Acct #3650, Dimitrios Zourdos
 70-B                         2013 Deposits, Berkshire Bank Acct #3650, Dimitrios Zourdos
 71-A                         2014 Statements, Berkshire Bank Acct #3650, Dimitrios Zourdos
 71-B                         2014 Deposits, Berkshire Bank Acct #3650, Dimitrios Zourdos
 71-C                         2014 Checks, Berkshire Bank Acct #3650, Dimitrios Zourdos
 72-A                         2015 Statements, Berkshire Bank Acct #3650, Dimitrios Zourdos
 72-B                         2015 Deposits, Berkshire Bank Acct #3650, Dimitrios Zourdos
 72-C                         2015 Checks, Berkshire Bank Acct #3650, Dimitrios Zourdos
 73-A                         2016 Statements, Berkshire Bank Acct #3650, Dimitrios Zourdos
 73-B                         2016 Deposits, Berkshire Bank Acct #3650, Dimitrios Zourdos
 73-C                         2016 Checks, Berkshire Bank Acct #3650, Dimitrios Zourdos
                              2013-2016 Cash Withdrawals, Berkshire Bank Acct #3650, Dimitrios
 73-D
                              Zourdos
 74-A                         2017 Statements, Berkshire Bank Acct #3650, Dimitrios Zourdos
 74-B                         2017 Deposits, Berkshire Bank Acct #3650, Dimitrios Zourdos
 74-C                         2017 Checks, Berkshire Bank Acct #3650, Dimitrios Zourdos
  75                          Misc Transactions, Berkshire Bank Acct #3650, Dimitrios Zourdos
  76                          OPEN
 77-A                         Signature Card, Berkshire Bank Acct #8202, Rose Zourdos
 77-B                         Statements, Berkshire Bank Acct #8202, Rose Zourdos
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EXHIBIT MARKED  DATE
                                                   EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 77-C                      Deposits, Berkshire Bank Acct #8202, Rose Zourdos
 77-D                      Checks, Berkshire Bank Acct #8202, Rose Zourdos
 78-A                      Signature Card, Berkshire Bank Acct #8883, Rose Zourdos
 78-B                      Statements, Berkshire Bank Acct #8883, Rose Zourdos
 78-C                      Deposits, Berkshire Bank Acct #8883, Rose Zourdos
 78-D                      Checks, Berkshire Bank Acct #8883, Rose Zourdos
 78-E                      Cash Withdrawals, Berkshire Bank Acct #8883, Rose Zourdos
 79-A                      Signature Card, Berkshire Bank Acct #3559, Rose Zourdos
 79-B                      2013 Deposits, Berkshire Bank Acct #3559, Rose Zourdos
 79-C                      Statements, Berkshire Bank Acct #3559, Rose Zourdos
 80-A                      Signature Card, Berkshire Bank Acct #4357, Rose and Helen Zourdos
                           2013 Cert Check Withdrawal, Berkshire Bank Acct #4357, Rose and Helen
 80-B
                           Zourdos
 81-A                      Signature Card, Berkshire Bank Acct #4124, Rose Zourdos
                           2013 Cash Deposits and Withdrawals, Berkshire Bank Acct #4124, Rose
 81-B
                           Zourdos
 81-C                      2013 Statements, Berkshire Bank Acct #4124, Rose Zourdos
 81-D                      Cashier’s Check, drawn from Berkshire Bank Acct#4124
 82-A                      Signature Card, Berkshire Bank Acct #0074, Helen Zourdos
 82-B                      Statements, Berkshire Bank Acct #0074, Helen Zourdos
 82-C                      2013 Cash Withdrawal, Berkshire Bank Acct #0074, Helen Zourdos
 83-A                      Signature Card, Berkshire Bank Acct #6954, Helen Zourdos
 83-B                      Statements, Berkshire Bank Acct #6954, Helen Zourdos
 83-C                      2013 Withdrawal, Berkshire Bank Acct #6954, Helen Zourdos
 84-A                      Signature Card, Berkshire Bank Acct #4156, Rose Zourdos
 84-B                      2013 Withdrawal, Berkshire Bank Acct #4156, Rose Zourdos
 85-A                      Signature Card, Berkshire Bank Acct #7500, Rose Zourdos
 85-B                      2013 Deposits, Berkshire Bank Acct #7500, Rose Zourdos
 85-C                      2013 Cash Withdrawal, Berkshire Bank Acct #7500, Rose Zourdos
 85-D                      Statements, Berkshire Bank Acct #7500, Rose Zourdos
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EXHIBIT MARKED  DATE
                                                    EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 86-A                      Signature Card, Berkshire Bank Acct #0124, Rose and Helen Zourdos
 86-B                      Statements, Berkshire Bank Acct #0124, Rose and Helen Zourdos
 86-C                      Withdrawals, Berkshire Bank Acct #0124, Rose and Helen Zourdos
                           Signature Card, Berkshire Bank Acct #6376, Chrisanthi Tsionas and Helen
 87-A
                           Zourdos
                           2013 Deposits, Berkshire Bank Acct #6376, Chrisanthi Tsionas and Helen
 87-B
                           Zourdos
                           2014 Deposits, Berkshire Bank Acct #6376, Chrisanthi Tsionas and Helen
 87-C
                           Zourdos
                           2015 Deposits, Berkshire Bank Acct #6376, Chrisanthi Tsionas and Helen
 87-D
                           Zourdos
                           2016 Deposits, Berkshire Bank Acct #6376, Chrisanthi Tsionas and Helen
 87-E
                           Zourdos
                           2015 Transfer, Berkshire Bank Acct #6376, Chrisanthi Tsionas and Helen
 87-F
                           Zourdos
                           Statements, Berkshire Bank Acct #6376, Chrisanthi Tsionas and Helen
 87-G
                           Zourdos
 88-A                      Signature Card, Berkshire Bank Acct #5100, Chrisanthi Tsionas
 88-B                      2013 Deposits, Berkshire Bank Acct #5100, Chrisanthi Tsionas
                           Signature Card, Berkshire Bank Acct #1680, Christine Tsionas and Helen
 89-A
                           Zourdos
                           2013 Withdrawal, Berkshire Bank Acct #1680, Christine Tsionas and Helen
 89-B
                           Zourdos
                           Signature Card, Berkshire Bank Acct #3600, Helen Zourdos and Christine
 90-A
                           Tsionas
                           2013 Withdrawal, Berkshire Bank Acct #3600, Helen Zourdos and
 90-B
                           Christine Tsionas
                           Signature Card, Berkshire Bank Acct #3680, Helen Zourdos and Christine
 91-A
                           Tsionas
                           2013 Withdrawals, Berkshire Bank Acct #3680, Helen Zourdos and
 91-B
                           Christine Tsionas
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                              Signature Card, Berkshire Bank Acct #3810, Christine Tsionas and Helen
 92-A
                              Zourdos
                              2013 Withdrawal, Berkshire Bank Acct #3810, Christine Tsionas and Helen
 92-B
                              Zourdos
                              Signature Card, Berkshire Bank Acct #7511, Christine Tsionas and Helen
 93-A
                              Zourdos
                              2013 Withdrawal, Berkshire Bank Acct #7511, Christine Tsionas and Helen
 93-B
                              Zourdos
                              Signature Card and Account Information, Berkshire Safe Deposit Box
 94-A
                              #1820, Christine Tsionas and Helen Zourdos
                              Signature Card and Account Information, Berkshire Safe Deposit Box #604,
 94-B
                              Helen Zourdos and Christine Tsionas
 95-99                        OPEN
                              Application for Search Warrant re HZ/RDZ/ERD Dippin and Residence,
100-A
                              June 2018
                              Executed Search and Seizure Warrant re HZ/RDZ/ERD Dippin and
100-B
                              Residence, June 2018
100-C                         Site 1 (HZ Dippin) SW Site Drawing
100-D                         Site 4 (Monument Rd) SW Site Drawing
 100-E                        Inventory of Seized Items, Site 1: HZ Dippin
 100-F                        Inventory of Seized Items, Site 4: Monument Road
100-G                         Inventory of Computer Evidence Seized at Residence
100-H                         Consent to Search Phone, H. Zourdos
 100-I                        Photo Log, Search at HZ Dippin
 100-J                        Photo Log, Monument Road
 101                          Photo, Monument Road Residence
 102                          Photos, Cash Found at Monument Road
 103                          Cash Transaction Receipts, NBT (Examples)
104-A                         Calendar Notebook Record of Sales, 2011
104-B                         Calendar Notebook Record of Sales, 2018
 105                          Greek Bank Records, Various
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EXHIBIT MARKED  DATE
                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 106                          Letter, by R. Zourdos re Investigation
107-109                       OPEN
 110                          Signature Card, NBT Bank Acct #4869, John and Helen Zourdos
111-A                         2011 Statements, NBT Bank Acct #4869, John and Helen Zourdos
111-B                         2011 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
111-C                         2011 Checks, NBT Bank Acct #4869, John and Helen Zourdos
112-A                         2012 Statements, NBT Bank Acct #4869, John and Helen Zourdos
112-B                         2012 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
112-C                         2012 Checks, NBT Bank Acct #4869, John and Helen Zourdos
113-A                         2013 Statements, NBT Bank Acct #4869, John and Helen Zourdos
113-B                         2013 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
113-C                         2013 Checks, NBT Bank Acct #4869, John and Helen Zourdos
114-A                         2014 Statements, NBT Bank Acct #4869, John and Helen Zourdos
114-B                         2014 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
114-C                         2014 Checks, NBT Bank Acct #4869, John and Helen Zourdos
115-A                         2015 Statements, NBT Bank Acct #4869, John and Helen Zourdos
115-B                         2015 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
115-C                         2015 Checks, NBT Bank Acct #4869, John and Helen Zourdos
116-A                         2016 Statements, NBT Bank Acct #4869, John and Helen Zourdos
116-B                         2016 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
116-C                         2016 Checks, NBT Bank Acct #4869, John and Helen Zourdos
117-A                         2017 Statements, NBT Bank Acct #4869, John and Helen Zourdos
117-B                         2017 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
117-C                         2017 Checks, NBT Bank Acct #4869, John and Helen Zourdos
118-A                         2018 Statements, NBT Bank Acct #4869, John and Helen Zourdos
118-B                         2018 Deposits, NBT Bank Acct #4869, John and Helen Zourdos
118-C                         2018 Checks, NBT Bank Acct #4869, John and Helen Zourdos
119-A                         Signature Card, NBT Bank Acct #5736, Rose Zourdos
119-B                         2015-2018 Statements, NBT Bank Acct #5736, Rose Zourdos
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
119-C                         2015-2018 Deposits, NBT Bank Acct #5736, Rose Zourdos
119-D                         2015-2018 Checks, NBT Bank Acct #5736, Rose Zourdos
 119-E                        Wire Transaction, NBT Bank Acct #5736, Rose Zourdos
 120                          Safe Deposit Box Account, NBT Bank Box 259, John and Helen Zourdos
121-123                       OPEN
 124                          Summary, List of Records Seized at HZ Dippin, 6/7/2018
 125                          Selected Photos Taken at Search Warrant of HZ Dippin
125-A                         Photos Taken at Search
126-A                         2012 HZ Dippin Donuts Calendar/Sales Notebook
126-A-1                       2012 HZ Dippin Donuts Calendar/Sales Notebook (Original)
126-B                         2012 RDZ Dippin Donuts Calendar/Sales Notebook
126-B-1                       2012 RDZ Dippin Donuts Calendar/Sales Notebook (Original)
126-C                         2012 ERD Dippin Donuts Calendar/Sales Notebook
126-C-1                       2012 ERD Dippin Donuts Calendar/Sales Notebook (Original)
127-A                         2013 HZ Dippin Donuts Calendar/Sales Notebook
127-A-1                       2013 HZ Dippin Donuts Calendar/Sales Notebook (Original)
127-B                         2013 RDZ Dippin Donuts Calendar/Sales Notebook
127-B-1                       2013 RDZ Dippin Donuts Calendar/Sales Notebook (Original)
127-C                         2013 ERD Dippin Donuts Calendar/Sales Notebook
127-C-1                       2013 ERD Dippin Donuts Calendar/Sales Notebook (Original)
128-A                         2014 HZ Dippin Donuts Calendar/Sales Notebook
128-A-1                       2014 HZ Dippin Donuts Calendar/Sales Notebook (Original)
128-B                         2014 RDZ Dippin Donuts Calendar/Sales Notebook
128-B-1                       2014 RDZ Dippin Donuts Calendar/Sales Notebook (Original)
128-C                         2014 ERD Dippin Donuts Calendar/Sales Notebook
128-C-1                       2014 ERD Dippin Donuts Calendar/Sales Notebook (Original)
129-A                         2015 HZ Dippin Donuts Calendar/Sales Notebook
129-A-1                       2015 HZ Dippin Donuts Calendar/Sales Notebook (Original)

129-B                         2015 RDZ Dippin Donuts Calendar/Sales Notebook
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
129-B-1                       2015 RDZ Dippin Donuts Calendar/Sales Notebook (Original)
129-C                         2015 ERD Dippin Donuts Calendar/Sales Notebook
129-C-1                       2015 ERD Dippin Donuts Calendar/Sales Notebook (Original)
130-A                         2016 HZ Dippin Donuts Calendar/Sales Notebook
130-A-1                       2016 HZ Dippin Donuts Calendar/Sales Notebook (Original)
130-B                         2016 RDZ Dippin Donuts Calendar/Sales Notebook
130-B-1                       2016 RDZ Dippin Donuts Calendar/Sales Notebook (Original)
130-C                         2016 ERD Dippin Donuts Calendar/Sales Notebook
130-C-1                       2016 ERD Dippin Donuts Calendar/Sales Notebook (Original)
131-A                         2017 HZ Dippin Donuts Calendar/Sales Notebook
131-A-1                       2017 HZ Dippin Donuts Calendar/Sales Notebook (Original)
131-B                         2017 RDZ Dippin Donuts Calendar/Sales Notebook
131-B-1                       2017 RDZ Dippin Donuts Calendar/Sales Notebook (Original)
131-C                         2017 ERD Dippin Donuts Calendar/Sales Notebook
131-C-1                       2017 ERD Dippin Donuts Calendar/Sales Notebook (Original)
 132                          2001 Calendar Notebook
 133                          2011 Calendar Notebook
134-A                         IRS Letter to Zourdos, 4/15/2016 re Audit of RDZ Dippin
134-B                         IRS Letter, 3/23/2017 re RDZ Audit
135-A                         IRS Notice of Summons, Vincent Gilroy, 8/3/2017
135-B                         Notice of Summons, Bank of Utica, 11/29/2017
136-A                         2012 Individual Tax Return, John and Helen Zourdos
136-B                         2013 Individual Tax Return, J/H Zourdos
136-C                         2014 Individual Tax Return, J/H Zourdos
137-A                         2013 HZ Dippin Tax Return
137-B                         2013 HZ Dippin Financial Statements
137-C                         2015 HZ Dippin Tax Return
137-D                         2015 Financial Statements, HZ Dippin
 137-E                        2013 RDZ Dippin Tax Return
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EXHIBIT MARKED  DATE
                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 137-F                        2014 RDZ Dippin Tax Return
137-G                         March 2014 RDZ Dippin Financial Statements
137-H                         2015 RDZ Tax Return
 137-I                        2016 RDZ Tax Return
 137-J                        March 2016 RDZ Financial Statements
137-K                         March 2017 RDZ Dippin Financial Statements
138-A                         2013 ERD Financial Statements
138-B                         2015 Financial Statements, ERD
 139                          Notes, Financial Information 2008-2011
140-A                         Henry Jewelers Receipt
140-B                         Payment Receipts, Geneva Foreign and Sports Inc.
140-C                         Statement, Engelbert’s Jewelers, 7/25/2017
140-D                         Repair Order, Greg Ellinger Collision
 140-E                        Cashier’s checks to Amex, with Statement
 141                          Assignment of Interests in Dippin Donuts
142-A                         Warranty Deed, (near Davis Bridge Road), Lewis County
142-B                         Warranty Deed, Black River Property, Oneida County
142-C                         Warranty Deed, Monument Road, Oneida County
 143                          Lease Agreement
144-A                         Consulting Contract with RZ Consulting, 6/8/2018
144-B                         Consultant Agreement with RZ Consulting
 145                          Letter from H.Zourdos re R.Zourdos Employment
 146                          Payco Payroll Statements, 9/23/2014
                              2013-2016, Specified Time Cars/Hours Reported to Payco, for Employees
 147
                              of HZ and ERD
148-159                       OPEN
160-A                         Bill of Sale, 2001 Porsche 911, to D. Zourdos
160-B                         Receipts, Payments for 2011 Porsche 911
161-A                         Rose Gold Date Rolex docs
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
161-B                         Rose Gold Date Rolex docs
 162                          Cash Receipts, John’s Auto Restoration re D. Zourdos
163-64                        OPEN
165-A                         2011 Financial Statements, HZ Dippin
165-B                         2011 ERD Dippin Tax Return, with Transmittal Letter
165-C                         2011 Form 8879, ERD e-file signature
                              2011 Personal Tax Returns, for J/H Zourdos, with Form 8879, as
166-A
                              Transmitted
167-A                         File, June-Aug 2011 NYS Sales and Use Tax, for HZ Dippin
167-B                         File, March-May 2011, NYS Sales and Use Tax, for HZ Dippin
167-C                         File, Dec 2011-Feb 2012, NYS Sales and Use Tax, for HZ Dippin
                              2012 Personal Tax Returns, for J/H Zourdos, with Form 8879, as
168-A
                              Transmitted
168-B                         2012, Amended Personal Tax Returns, for J/H Zourdos, as Transmitted
                              2012 Personal Tax Returns, for Dimitrios Zourdos, with Form 8879, as
 169
                              Transmitted
                              NYS Taxation and Finance Sales Tax Receipt, Dec. 2012, with Supporting
170-A
                              Documents
170-B                         File, 2012 NYS Sales and Use Tax, for HZ Dippin, with Supporting Notes
171-A                         2012 Form 1099-K, for HZ Dippin from Global Payments Direct
171-B                         2012 Form 1099-K, for HZ Dippin from American Express
173-A                         2013 HZ Dippin Corporate Tax Return, with Form 8879, as Transmitted
173-B                         2013 HZ Dippin Financial Statements
                              2013 RDZ Dippin Corporate Tax Return, with Form 8879 and Financial
173-C
                              Statements, as Transmitted
173-D                         2013 RDZ Bank Reconciliation Workpapers, with Bank Statements
                              2013 ERD Dippin Corporate Tax Return, with Form 8879 and Financial
 173-E
                              Statements, as Transmitted
                              2013 Personal Tax Returns, for J/H Zourdos, with Form 8879, and
 174
                              Supporting Workpapers
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                              2013 Personal Tax Returns, for Dimitrios Zourdos, with Form 8879, as
 175
                              Transmitted
176-A                         File, 2013 NYS Sales and Use Tax, for HZ Dippin
176-B                         2013 Form 1099-K, for RDZ Dippin, from Global Payments
177-A                         2013 HZ Profit/Loss Detail
177-B                         2013 RDZ Profit/Loss Detail
177-C                         2013 HZ PL and BS
177-D                         2013 RDZ PL and BS
 177-E                        2013 HZ GL
 177-F                        2013 RDZ GL
178-A                         2014 HZ Dippin Corporate Tax Return, with Form 8879, as Transmitted
178-B                         2014 HZ Dippin Financial Statements
179-A                         2014 RDZ Financial Statements
179-B                         2014 RDZ Dippin Corporate Tax Return Transmittal Letter
 180                          2014 ERD Dippin Corporate Tax Return
180-B                         2014 ERD Bank Reconciliation Workpapers
181-A                         2014 Personal Tax Returns, for J/H Zourdos
181-B                         2014 Forms W-2, for J/H Zourdos
                              Email from Helen to O'Rourke (Apr 7, 2015) re $600 interest income
181-C
                              amount on 2014 tax return
181-D                         O'Rourke and Helen emails re IRA contributions/distributions
 181-E                        John/Helen cc statements (annotated with handwritten notes), 2015
 181-F                        Helen/O'Rourke email exchange re extension (4/13/15)
                              2014 Personal Tax Returns, for Dimitrios Zourdos, with Supporting
182-A
                              Workpapers
182-B                         2014 Form 8879 re Dimitrios e-file authorization and backup docs (2014)
182-C                         4/4/2015 Email from Heather O'Rourke to Helen re Dimitrios Tax Return
180-D                         Email re Dimitrios Tax Return
 183                          File, 2014 NYS Sales and Use Tax, for ERD Dippin
184-A                         2014 HZ Profit/Loss Detail
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EXHIBIT MARKED  DATE
                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
184-B                         2014 RDZ Profit/Loss Detail
184-C                         2014 HZ PL and BS
184-D                         2014 RDZ PL and BS
 184-E                        2014 HZ GL
 184-F                        2014 RDZ GL
185-A                         2015 HZ Dippin Corporate Tax Return, with Form 8879, as Transmitted
185-B                         2015 HZ Dippin Financial Statements
186-A                         2015 RDZ Dippin Corporate Tax Return
186-B                         2015 RDZ Financial Statements
187-A                         2015 ERD Dippin Corporate Tax Return, with Supporting Workpapers
187-B                         2015 ERD Dippin Financial Statements
187-C                         2015 ERD Dippin Bank Reconciliation Workpapers
                              O'Rourke emails with Matt Nicholl at Berkshire re ERD loan balances and
 188
                              referencing "partner in crime"
189-A                         2015 Personal Tax Returns, for J/H Zourdos, with Form 8879
189-B                         2015 Forms W-2, John, Helen
189-C                         John/Helen cc statements (annotated with handwritten notes), 2015
                              April 2016 Email Exchange, O'Rourke and Helen re outstanding issues for
189-D
                              tax returns
 189-E                        Extension to file 2015 tax return for John & Helen
                              2015 Personal Tax Returns, for Dimitrios Zourdos, with Supporting
190-A
                              Workpapers
190-B                         2015 Form 8879, for Dimitrios Zourdos
191-A                         File, 2015 NYS Sales and Use Tax, for HZ Dippin
                              ERD sales tax receipts and handwritten notes (and transmittal letter from
191-B
                              Gilroy)
192-A                         2015 HZ Profit/Loss Detail
192-B                         2015 RDZ Profit/Loss Detail
192-C                         2015 HZ PL and BS
192-D                         2015 RDZ PL and BS
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 192-E                        2015 HZ GL
 192-F                        2015 RDZ GL
                              2016 HZ Dippin Corporate Tax Return, with Form 8879, with Supporting
193-A
                              Workpapers
193-B                         2016 HZ Dippin Bank Reconciliation Workpapers
193-C                         Gilroy to John/Helen re April 2017 HZ Dippin extension
194-A                         2016 RDZ Financial Statements
                              July 2017 letter from Gilroy to Helen and John enclosing extension forms
194-B
                              for RDZ
195-A                         2016 ERD Financial Statements
195-B                         2016 ERD 1099s, property tax receipts, tax payment receipts
195-C                         2016 ERD Dippin Corporate Tax Return, as Transmitted
196-A                         2016 Personal Tax Returns, for J/H Zourdos, with Form 8879
196-B                         2016 Form 8879, for J/H Zourdos
 197                          Dimitrios 2016 supporting information
198-A                         2016 HZ Profit/Loss Detail
198-B                         2016 RDZ Profit/Loss Detail
198-C                         2016 HZ PL and BS
198-D                         2016 RDZ PL and BS
 198-E                        2016 HZ GL
 198-F                        2016 RDZ GL
199-A                         2017 HZ Dippin Balance Sheet and P&L Statement
199-B                         2017 HZ Dippin Bank Reconciliation Workpapers
199-C                         December 2017 Berkshire Bank Statement/Checks, for HZ Dippin
199-D                         HZ Dippin Amex Statements (2017)
200-A                         RDZ filing extension forms, 2017
200-B                         2017 RDZ Bank Reconciliation Workpapers
200-C                         July 2017 Berkshire Bank Statement/Checks, for RDZ Dippin
201-A                         2017 ERD Empire Financial Statements
201-B                         2017 ERD Bank Reconciliation Workpapers
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EXHIBIT MARKED  DATE
                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
201-C                         2017 ERD Empire "Compensation of Officers" Form
 202                          2017 Transaction details by account for all Dippin Stores
203-A                         2017 Extension to File Forms, for J/H Zourdos
203-B                         April 2018 Emails, between Helen and O'Rourke re: IRA Contributions
204-A                         2017 Personal Tax Returns, for Dimitrios Zourdos
204-B                         2017 Form 8879, for Dimitrios Zourdos, with Supporting Documents
205-A                         2017 HZ Profit/Loss Detail
205-B                         2017 RDZ Profit/Loss Detail
205-C                         2017 HZ PL and BS
205-D                         2017 RDZ PL and BS
 205-E                        2017 HZ GL
 205-F                        2017 RDZ GL
205-G                         2017 ERD GL
206-A                         Sue Johnson correspondence re audit requesting docs
                              Sue Johnson letter to Gilroy confirming appointment to discuss RDZ
206-B
                              Dippin (Apr 15, 2016)
                              April 2016 letter from Sue Johnson requesting documents and response
206-C
                              from V. Gilroy
                              Sue Johnson letter to RDZ and Gilroy indicating no change to audit, Feb
206-D
                              2017
207-214                       OPEN
215-A                         Second Search Warrant – Pole Barn: Application for Search Warrant
215-B                         Second Search Warrant – Pole Barn: Signed Search Warrant
215-C                         Second Search Warrant – Pole Barn: Inventory of Items Seized
215-D                         Second Search Warrant – Photos
216-A                         2013 Bank Statements, #4869, J/H Zourdos
216-B                         2014 Bank Statements, #4869, J/H Zourdos
216-C                         June 2015 Bank Statements, #4869, J/H Zourdos
216-D                         2018 Bank Statements, #4869, J/H Zourdos
 216-E                        June 2017 Statement, #4869, J/H Zourdos
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EXHIBIT MARKED  DATE
                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 217                          Personal Financial Statement, J/H Zourdos
 218                          Notes, Amex Expenditures
 219                          Text Messages, between H.Zourdos/V Gilroy
 220                          Emails, between H.Zourdos/H.O’Rourke/et al
 221                          Quickbook Report, HZ Dippin 2016
 222                          Personal Savings Account Record
223-A                         Text Messages Between V.Gilroy/H.Zourdos, et al, 2016
223-B                         Text Messages Between V.Gilroy/H.Zourdos, et al, 2017
223-C                         Text Messages Between V.Gilroy/H.Zourdos, et al, 2018
 223-E                        Text Messages, V.Gilroy/H.Zouros
224-A                         Research re What to do When Special Agents Arrive
224-B                         Memo re tax fraud investigation
224-C                         Research re Criminal Tax Fraud Investigations
224-D                         Research re Abusive Tax Shelters
 224-E                        Research re Analyzing Bank Records
 224-F                        Research re IRS criminal investigations
 225                          ERD Board resolution re Porsche Lease
 226                          IRS Notice of Summons, Experian, 8/9/2017
 227                          H. Zourdos Letter re investigation
 228                          Revocation of POAs
 229                          Draft Letter to Finra re Forged Client Signatures
 230                          Insurance quotes for Vehicles, Property
 231                          Memo re modifications to policy re checks/deposits/etc, 7/27/2018
232-A                         Photo, I-Bank Debit Card, for C.V. Tsionas
232-B                         Photo, I-Bank Debit Card, for H. Zourdos
232-C                         Photo, Greek bank debit card, for H. Zourdos
233-34                        OPEN
 235                          Property/Mortgage records from Lewis County - Kane
 236                          (Property/Mortgage records from Oneida Count-- Kane)
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
237-239                     OPEN
240-A                       DMV photos, John Zourdos
240-B                       DMV abstract of driving record, John Zourdos
240-C                       DMV abstract of registration record, John Zourdos
241-A                       DMV title, sale records as to Integrity trailer, John Zourdos
241-B                       DMV title, registration request as to 2009 Mercedes Benz, John Zourdos
241-C                       DMV title, registration, plates request as to 2001 Porsche, John Zourdos
241-D                       DMV title, registration request as to 2008 Porsche, John Zourdos
 241-E                      DMV title, registration request as to 2015 Polaris ATV, John Zourdos
                            DMV title, registration, sale records as to 2017 Chevrolet Silverado, John
 241-F
                            Zourdos
242-A                       DMV title, registration records as to 2008 Ford, John and Helen Zourdos
                            DMV title, registration, sale records as to 2016 Chevrolet Silverado, John
242-B
                            and Helen Zourdos
243-A                       DMV title, etc. for 1963 Ford for Dimitrios
244-A                       DMV title, bill of sale, etc. for snowmobile for Rose
244-B                       DMV title, sale documents re 2018 Ford F250, Rose
245-A                       DMV pictures of Helen Zourdos
245-B                       DMV abstract of driving record, Helen
245-C                       DMV abstract of registration record, Helen
246-A                       DMV pictures of Dimitrios Zourdos
246-B                       DMV abstract of driving record, Dimitrios
246-C                       DMV abstract of registration record, Dimitrios
247-A                       DMV pictures of Rose Zourdos
247-B                       DMV abstract of driving record, Rose
247-C                       DMV abstract of registration record, Rose
248-49                      OPEN
250-A                       USCBP, Person Encounter List, John Zourdos
250-B                       USCBP, Person Encounter List, Helen Zourdos
250-C                       USCBP, Person Encounter List, Dimitrios Zourdos
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
250-D                         USCBP, Person Encounter Detail, Rose Zourdos
 250-E                        Certification of Records, USCBP
 251                          Secretary of State Records
252-254                       OPEN
255-A                         Credit Application, for D. Zourdos, JC Penny Card, 2/05/2012
255-B                         Account Transcript, JC Penny Card, for D.Zourdos
255-C                         Credit Application, for D. Zourdos, JC Penny Card, 10/9/2014
255-D                         Payments, JC Penny Card, for DZourdos
 255-E                        Account Transcript, JC Penny Card, for D.Zourdos
256-A                         Credit Application, for H. Zourdos, Amazon Store Card, 10/19/2014
256-B                         Payments, by H. Zourdos, Amazon Store Card,
256-C                         Credit Card Statements, Amazon Store Card, for H Zourdos
257-A                         Credit Application, for H. Zourdos, Banana Republic, 3/14/2012
257-B                         Payments, by H. Zourdos, Banana Republic Card
257-C                         Credit Card Statements, Banana Republic, for H Zourdos
258-A                         Credit Application, for H. Zourdos, Lowes Credit
258-B                         Payments, by H. Zourdos, Lowes Credit Card
258-C                         Account Transcript, Lowes Credit Card, H. Zourdos
259-A                         Credit Application, for H. Zourdos, QVC Card, 3/4/2016
259-B                         Payments, for H. Zourdos, QVC Card,
259-C                         Account Transcript, QVC Credit Card, H. Zourdos
260-A                         Credit Application, for H. Zourdos, TJ Max Card, 11/27/2011
260-B                         Account Transcript, TJ Max Card, H. Zourdos
261-A                         Credit Application, for H. Zourdos, TJ Max Card, 5/18/2015
261-B                         Payments, TJ Max Card, H. Zourdos
261-C                         Account Transcript, TJ Max Card, H. Zourdos
262-A                         Credit Application, for R. Zourdos, Belk Card, 5/18/2015
262-B                         Payments, Belk Card, by H. Zourdos
262-C                         Account Transcript, Belk Card, R. Zourdos
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EXHIBIT MARKED  DATE
                                                       EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
263-A                         Credit Application, for R. Zourdos, GAP Card, 5/18/2015
263-B                         Payments, GAP Card, by J. and H. Zourdos
263-C                         Account Transcript, GAP Card, R. Zourdos
264-A                         Credit Application, for R. Zourdos, JC Penny Card
264-B                         Payments, JC Penny Card, by H. Zourdos
264-C                         Account Transcript, JC Penny Card, R. Zourdos
265-A                         Credit Application, for R. Zourdos, Lowes Card
265-B                         Payments, Lowes Card
265-C                         Account Transcript, Lowes Card, R. Zourdos
266-A                         Credit Application, for R. Zourdos, TJ Max Card
266-B                         Payments, TJ Max Card, for R. Zourdos
266-C                         Account Transcript, TJ Max Card, R. Zourdos
                              Account Application and Client Agreement, Morgan Stanley Acct #0821,
 267
                              Helen Zourdos
268-A                         2013 Statements, Morgan Stanley Retirement Acct #0821, Helen Zourdos
268-B                         2014 Statements, Morgan Stanley Retirement Acct #0821, Helen Zourdos
268-C                         2015 Statements, Morgan Stanley Retirement Acct #0821, Helen Zourdos
268-D                         2016 Statements, Morgan Stanley Retirement Acct #0821, Helen Zourdos
                              Account Application and Client Agreement, Morgan Stanley Acct #0904,
269-A
                              Helen Zourdos
                              Option New Account Form and Client Agreement, MS Acct #0904, Helen
269-B
                              Zourdos
270-A                         2013 Statements, Morgan Stanley Investment Acct #0904, Helen Zourdos
270-B                         2014 Statements, Morgan Stanley Investment Acct #0904, Helen Zourdos
270-C                         2015 Statements, Morgan Stanley Investment Acct #0904, Helen Zourdos
270-D                         2016 Statements, Morgan Stanley Investment Acct #0904, Helen Zourdos
                              Account Application and Client Agreement, Morgan Stanley Acct #0830,
271-A
                              Dimitrios and Helen Zourdos
                              Option New Account Form and Client Agreement, MS Acct #0830,
271-B
                              Dimitrios and Helen Zourdos
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                              2013 Statements, Morgan Stanley Investment Acct #0830, Dimitrios and
272-A
                              Helen Zourdos
                              2014 Statements, Morgan Stanley Investment Acct #0830, Dimitrios and
272-B
                              Helen Zourdos
                              2015 Statements, Morgan Stanley Investment Acct #0830, Dimitrios and
272-C
                              Helen Zourdos
                              2016 Statements, Morgan Stanley Investment Acct #0830, Dimitrios and
272-D
                              Helen Zourdos
                              Account Application and Client Agreement, Morgan Stanley Acct #0833,
273-A
                              Dimitrios Zourdos
                              Option New Account Form and Client Agreement, MS Acct #0833,
273-B
                              Dimitrios Zourdos
                              2013 Statements, Morgan Stanley Investment Acct #0833, Dimitrios
274-A
                              Zourdos
                              2014 Statements, Morgan Stanley Investment Acct #0833, Dimitrios
274-B
                              Zourdos
                              2015 Statements, Morgan Stanley Investment Acct #0833, Dimitrios
274-C
                              Zourdos
                              2016 Statements, Morgan Stanley Investment Acct #0833, Dimitrios
274-D
                              Zourdos
                              Option New Account Form and Client Agreement, MS Acct #1027,
 275
                              Dimitrios Zourdos
                              2013 Statements, Morgan Stanley Investment Acct #1027, Dimitrios
276-A
                              Zourdos
                              2014 Statements, Morgan Stanley Investment Acct #1027, Dimitrios
276-B
                              Zourdos
                              2015 Statements, Morgan Stanley Investment Acct #1027, Dimitrios
276-C
                              Zourdos
                              2016 Statements, Morgan Stanley Investment Acct #1027, Dimitrios
276-D
                              Zourdos
                              2013 Statements, Morgan Stanley Retirement Acct #0884, Dimitrios
277-A
                              Zourdos
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                                                      EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                            2015 Statements, Morgan Stanley Retirement Acct #2878, Dimitrios
277-B
                            Zourdos
                            2016 Statements, Morgan Stanley Retirement Acct #2878, Dimitrios
277-C
                            Zourdos
                            2015 Statements, Morgan Stanley Investment Acct #2991, Helen and
277-D
                            Dimitrios Zourdos
278-A                       Rome “Coin Machine” Deposits, Acct# 6148
278-B                       Withdrawal from AmeriCU Acct #6148
278-C                       Deposit Slips, Acct # 6148
278-D                       Account and account change forms, sig card, Acct # 6148
 278-E                      Account statements, Acct# 6148
279-A                       Account card statement, loan application and contract, Acct# 7636
279-B                       Payments for Silverado, checks and deposit slips
279-C                       Account statements, Acct# 7636
279-D                       Payment for Silverado
280-A                       Account statements, Acct# 9884
280-B                       Visa check card application, Acct# 5700
                            Customer Card/Customer Service History, AmEx- Macy’s Card Acct
281-A
                            #4362, Helen Zourdos
281-B                       2013-2017 Statements, AmEx- Macy’s Card Acct #4362, Helen Zourdos
282-A                       Credit Application, AmEx- Bloomingdale Card Acct #1494, Helen Zourdos
                            Customer Information, AmEx- Bloomingdale Card Acct #1494, Helen
282-B
                            Zourdos
283-A                       Credit Application, AmEx- Macy’s Card Acct #9287, Dimitrios Zourdos
                            Customer Information, AmEx- Macy’s Card Acct #9287, Dimitrios
283-B
                            Zourdos
                            Statements and Payments, AmEx- Macy’s Card Acct #9287, Dimitrios
283-C
                            Zourdos
284-A                       Customer Information, AmEx- Macy’s Card Acct #0257, Rose Zourdos
284-B                       Statements, AmEx- Macy’s Card Acct #0257, Rose Zourdos
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                                                         EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 285                          2011-2018 Statements, AmEx-Delta Sky Miles Card, Helen Zourdos
 286                          2011-2018 Statements, AmEx-Starwood Preferred , Helen Zourdos
 287                          2012-2017 Statements, AmEx-Starwood Preferred, John Zourdos
                              2016-2018 Statements, AmEx-Starwood Preferred Guest Card, Dippin
 288
                              Donuts
                              2011-2017 Statements, AmEx-Starwood Guest Card, Accounts 1-41003,
 289
                              42001, 43009, 44007, 45004, 47000, R.Zourdos
                              2016-2017 Statements, Delta Sky Miles Credit Card, Account 4-31007,
 290
                              R.Zourdos
 291                          2015-2017 Statements, Delta Skymiles Card, Accounts 8-21006, J.Zourdos
 292                          2017 Statements, Delta Skymiles Card, Accounts 7-31003, D.Zourdos
                              2012-2017 Statements, Starwood Preferred Credit Card, Accounts 7-91009,
 293
                              920007, D.Zourdos
 294                          Summary, Payments to Amex Cards, by Zourdoses
 295                          Signed records certification
                              John Zourdos credit application at Davidson Chevrolet for 2011 Chevrolet
296-A
                              Silverado; retail contract; insurance proof
                              Additional Davidson Chevrolet purchase documentation, John Zourdos,
296-B
                              2011 Silverado
297-A                         Ally financial correspondence re: loan with John Zourdos (2010 & 2015)
297-B                         Ally financial account notes, 2010 & 2015
 298                          Checks and payment slips, John Zourdos (2010-2015)
 299                          Ally financial account notes
                              Helen & John credit application, lease agreement, insurance & title
300-A
                              information for 2016 Chevy Corvette
300-B                         Ally title account notes
300-C                         Account statements, payment slips, and checks for 2016 Corvette
301-A                         Account Application, Victoria Secret Card Acct #4791, Helen Zourdos
301-B                         2014-2017 Statements, Victoria Secret Card Acct #4791, Helen Zourdos
 302                          2013-2015 Statements, Talbot Card Acct #5802, Helen Zourdos
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                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
 303                          Account Application, Express Card Acct #9930, Dimitrios Zourdos
304-A                         Account Application, Express Card Acct #4346, Rose Zourdos
304-B                         Statements, Express Card Acct #4346, Rose Zourdos
 305                          Statements, Victoria Secret Card Acct #1775, Rose Zourdos
 306                          Statements, Victoria Secret Card Acct #9957, Rose Zourdos
 307                          Signed records certification (2013 records)
                              Close out statement, CD acct 5228 (approx. $31,000 withdrawal), Helen
308-A
                              and Chrisanthi, Sept. 2013
                              Close out statement, CD acct 4132 (approx. $6,700 withdrawal), Helen,
308-B
                              March 2013
                              Close out statement, CD acct 3870 (approx. $3,300 withdrawal), Helen,
308-C
                              March 2013
                              Close out statement, CD acct 2415 (approx. $8,600 withdrawal), Helen,
308-D
                              March 2013
 308-E                        Signed records certification (2011-2013 records)
                              Transcript of acct 8235, Helen (showing 2012 withdrawal of $990.37,
 308-F
                              which was total balance)
308-G                         Statements of interest payments on multiple CD accounts, Helen (2012-13)
309-A                         Signature Card, First Niagara Acct #4975, for H. Zourdos
309-B                         Statements and Checks, First Niagara Acct #4975, for H. Zourdos
309-C                         Deposits, First Niagara Acct #4975, for H. Zourdos
310-A                         Statements, First Niagara Credit Card Acct#3187, for J. Zourdos
310-B                         Payments, John/Helen Zourdos to First Niagara Bank re Credit Card
311-A                         Statements, First Niagara Credit Card Acct#3255, for J. Zourdos
311-B                         Payments, John/Helen Zourdos to First Niagara Bank re Credit Card 3255
312-A                         Statements, First Niagara Credit Card Acct#3425, for H. Zourdos
312-B                         Payments, John/Helen Zourdos to First Niagara Bank re Credit Card 3425
 313                          Safe Deposit Box 2759, KeyBank, for Helen Zourdos
314-A                         CD docs and withdrawal check, accts. #3277 & #2643
314-B                         CD docs and withdrawal check, acct. #7802
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                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                              Credit Application, Porsche Financial Services, for H. Zourdos re 2015
315-A
                              Porsche
315-B                         Lease Agreement re 2015 Porsche
                              Statements and Payments, Porsche Financial Services Acct#9730, for
315-C
                              ERD/H. Zourdos
315-D                         Vehicle Registration and Title, 2015 Porsche
                              Credit Application, Porsche Financial Services, for H. Zourdos re 2017
316-A
                              Porsche
316-B                         Lease Agreement re 2017 Porsche
316-C                         Statements, Porsche Financial Services Acct#1505, for ERD/H. Zourdos
                              Credit Payments, Porsche Financial Services Acct#1505, for ERD/H.
316-D
                              Zourdos
 316-E                        Vehicle Registration and Title, 2017 Porsche
 317                          Ford signed records certification
                              John & Rose purchase contract for 2014 Ford truck; credit applications;
318-A
                              vehicle registration/title application; retail sale certificate
318-B                         Payment slips addressed to Rose and checks to Ford from John and Helen
318-C                         Account statement to Rose showing payments on Ford F-250
                              Dimitri & Helen purchase contract for 2011 Ford truck; credit applications;
319-A
                              vehicle registration/title application
319-B                         Account statement to Dmitri showing payments on Ford F-350
320-A                         Vehicle Sale File, Davidson Chevrolet, 2017 Silverado Truck
320-B                         Letter, Davison Chevrolet to J.Zourdos re Form 8300
320-C                         IRS Form 8300, with Attachments
321-A                         Vehicle Lease File, 2016 Corvette for H. Zourdos
321-B                         Credit Application, Davidson Chevrolet, by H. Zourdos/J Zourdos
321-C                         Credit Applications-2, Davidson Chevrolet, by H. Zourdos/J Zourdos
322-A                         Vehicle Sale File, 2016 Silverado Truck for D. Zourdos
                              Credit Application, Davidson Chevrolet, by D.Zourdos/H.Zourdos re 2016
322-B
                              Silverado Truck
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                                                        EXHIBIT DESCRIPTION
NUMBER FOR ID ADMITTED
                              Credit Application - 2, Davidson Chevrolet, by D.Zourdos/H.Zourdos re
322-C
                              2016 Silverado Truck
322-D                         AmeriCU Account Card, H and D Zourdos
 323                          Saks signed records certification
324-A                         Dmitri Zourdos Account Statements, March 2017
                              Helen Zourdos Saks Fifth Avenue Card Application and Account
324-B
                              Statements, 2014-17
325-A                         Correspondence re Nordstrom Credit Card
325-B                         Nordstrom Credit Card Account, for H. Zourdos
325-C                         Nordstrom Credit Card Statements and Payments, for H. Zourdos
326-A                         Account Transcript, NRA Card/First Bankcard, for R. Zourdos
326-B                         Credit Card Statements, NRA Card/First Bankcard, for R. Zourdos
326-C                         Payments, NRA Card/First Bankcard, for R. Zourdos
327-A                         Account Transcript, Sallie Mae/Education Loan, for R. Zourdos
327-B                         Payments, Sallie Mae/Education Loan, for R. Zourdos
327-C                         Loan Consolidation History, for R. Zourdos
327-D                         Statement, SallieMae/Education Loan, for R. Zourdos, 12/19/2012
 327-E                        Statement, SallieMae/Education Loan, for R. Zourdos, 4/13/2014
 327-F                        Statement, SallieMae/Education Loan, for R. Zourdos, 5/16/2017
328-A                         Account Transcript, Sallie Mae/Education Loan, for H. Zourdos, 2015 loan
328-B                         Payments, Sallie Mae/Education Loan, for H. Zourdos
328-C                         Consolidated Loan Application, and Loan transcript, for H. Zourdos
328-D                         Statement, SallieMae/Education Loan, for R. Zourdos, 1/13/2014
 329                          Loan Payments re 911 Porsche for R.Zourdos
 330                          Utica College Transcript, for J. Zourdos
 331                          Summary of Employee Hours Reports, Submitted to Payco
 332                          Payco Records
333-339                       OPEN
 340                          Pictures at Loomis re seized money
341-A                         Summary Chart of Seized Money
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341-B                       MOI, Loomis
342-49                      OPEN
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #3127, J.
350-A
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #3213, H.
350-B
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #1468, H.
350-C
                            Zourdos
                            Summary, Deposits and Withdrawals, NBT Bank Acct #4869, J and H
350-D
                            Zourdos
                            Summary, Deposits and Withdrawals, First Niagara Bank Acct #4975, H
 350-E
                            Zourdos

 350-F                      Summary, Deposits and Withdrawals, Berkshire Bank Acct #9466, J.
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #6376, C
350-G
                            Tsionas and H. Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #3650, D
351-A
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #4103, D. and
351-B
                            H. Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #3373, D and
351-C
                            H. Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #8202, R
352-A
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #8883, R.
352-B
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #3559, R.
352-C
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #4124, R.
352-D
                            Zourdos
                            Summary, Deposits and Withdrawals, Berkshire Bank Acct #7500, R.
 352-E
                            Zourdos
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                                                      EXHIBIT DESCRIPTION
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 352-F                        Summary, Deposits, NBT Bank Acct #5736, R. Zourdos
353-A                         Summary, Cash Deposits, Berkshire Bank Acct #3127, J. Zourdos
                              Summary, Cash Deposits, Berkshire Bank Acct #3213, H. Zourdos, 2011-
353-B
                              2017
                              Summary, Cash Deposits, Berkshire Bank Acct #3213, H. Zourdos, 2013-
353-C
                              2016
                              Summary, Cash Deposits, NBT Bank Acct #4869, J and H Zourdos, 2013-
353-D
                              2017
                              Summary, Cash Deposits, NBT Bank Acct #4869, J and H Zourdos, 2013-
 353-E
                              2016
 353-F                        Summary, Cash Deposits, First Niagara Bank Acct #4975, H Zourdos
353-G                         Summary, Cash Deposits, Berkshire Bank Acct #9466, J. Zourdos
                              Summary, Cash Deposits, Berkshire Bank Acct #6376, C Tsionas and H.
353-H
                              Zourdos
                              Summary, Cash Deposits, Berkshire Bank Acct #3650, D Zourdos, 2011-
 353-I
                              2017
 353-J                        Summary, Cash Deposits, Berkshire Bank Acct #3650, D Zourdos
353-K                         Summary, Cash Deposits, Berkshire Bank Acct #4103, D. and H. Zourdos
 353-L                        Summary, Cash Deposits, Berkshire Bank Acct #3373, D and H. Zourdos
353-M                         Summary, Cash Deposits, Berkshire Bank Acct #8202, R Zourdos
353-N                         Summary, Cash Deposits, Berkshire Bank Acct #8883, R. Zourdos
353-O                         Summary, Cash Deposits, Berkshire Bank Acct #3559, R. Zourdos
 353-P                        Summary, Cash Deposits, Berkshire Bank Acct #7500, R. Zourdos
353-Q                         Summary, Cash Deposits, NBT Bank Acct #5736, R. Zourdos
 354                          Summary, Cash Deposits, All Personal Accounts
355-A                         Summary, 2013 Total Cash Deposits Per Bank Statements
355-B                         Summary, 2014 Total Cash Deposits Per Bank Statements
355-C                         Summary, 2015 Total Cash Deposits Per Bank Statements
355-D                         Summary, 2016 Total Cash Deposits Per Bank Statement
 356                          Summary, Corporate Gross Receipts Per Calendar Books, 2013-2016
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  357                          Summary, Constructive Dividends, 2013-2016
  358                          Summary, Taxes Due and Owing, J/H Zourdos, 2013-2016
  359                          Summary, Taxes Due and Owing, D Zourdos, 2013-2016
  360                          Summary, Taxes Due and Owing, R Zourdos, 2013-2016
  361                          Summary, Taxes Due and Owing, HZ Dippin
  362                          Summary, Taxes Due and Owing, RDZ Dippin
  363                          Summary, Allocation of Wage Expenses
  364                          Additional Summaries, of RA Michael Petrick Summaries
365-399                        OPEN
 400-A                         Photograph, Porsche 911
 400-B                         Photograph, Shelby Mustang
 400-C                         Photograph, Corvette
 400-D                         Photograph, 2001 Porsche 911 Turbo
 400-E                         Photograph, 2017 Chevy Silverado 2500 (black)
 400-F                         Photograph, 2017 Chevy Silverado 2500 (blue)
 401-A                         Stipulation No. 1
 401-B                         Stipulation No. 2
 401-C                         Stipulation No. 3
  402                          Summaries, Calendar Sales Notebooks, 2013-2016
Witness Statements
 KK-1                          Grand Jury Testimony of K.Kelly, 7/26/2018
 KK-2                          Memoranda of Interview, K.Kelly, 9/28/2017
 KK-3                          Memoranda of Interview, K.Kelly, 10/4/2017
 KA-1                          Deposition of K. Adams
 KA-2                          Memoranda of Interview, K.Adams, 10/29/2019
 AL-1                          Grand Jury Testimony of A.Layman, 10/16/2019
 AL-2                          Grand Jury Testimony of A.Layman, 7/26/2018
 AL-3                          Memoranda of Interview, A.Layman, 10/10/2017
 AL-4                          Memoranda of Interview, A.Layman, 10/11/2017
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 AL-5                      Memoranda of Interview, A.Layman, 10/12/2017
 AL-6                      Memoranda of Interview, A.Layman, 10/16/2019
 AL-7                      Memoranda of Interview, A.Layman, 10/16/2019, 2
 KL-1                      Grand Jury Testimony of K.Layman, 6/20/2019
 KL-2                      Interview Notes, K.Layman, 6/20/2019
 JF-1                      Memoranda of Interview, J.Fitzgerald, 7/9/2019
 JL-1                      Memoranda of Interview, J.Lowe, 7/2/2019
 SR-1                      Memoranda of Interview, S.Ramsey, 7/3/2019
 VG-1                      Deposition of V. Gilroy
 VG-2                      Memoranda of Interview, V.Gilroy, 8/3/2017
 VG-3                      Memoranda of Interview, V.Gilroy, 8/22/2017
 VG-4                      Memoranda of Conversation, V. Gilroy, 5/1/2018
 VG-5                      Memoranda of Interview, V. Gilroy, 6/19/2019
 VG-6                      Interview Notes, V. Gilroy, 6/19/2019
 HO-1                      Grand Jury Testimony of H. O’Rourke, 10/16/2019
 SJ-1                      Grand Jury Testimony of S.Johnson, 10/16/2019
 SJ-2                      Memoranda of Interview, S.Johnson, 8/17/2017
 SJ-3                      Memoranda of Interview, S.Johnson, 10/16/2019
 BL-1                      Grand Jury Testimony of B.Labuz, 7/26/2018
 BL-2                      Memoranda of Interview, B.Labuz, 8/17/2017
 CL-1                      Grand Jury Testimony of C. Layness, 6/20/2019
 CL-2                      Interview Notes, C.Layness, 6/20/2019
 HZ-1                      Memoranda of Interview, H.Zourdos, 8/29/2017
 HZ-2                      Interview Notes, H. Zourdos, 8/29/2017
 HZ-3                      Deposition of H. Zourdos, 11/19/2014
 JG-1                      Grand Jury Testimony of J.Gilbert, 7/26/2018
 JG-2                      Memoranda of Interview, J.Gilbert, 6/7/2018
 SM-1                      Grand Jury Testimony of S.McRae, 10/16/2019
 SM-2                      Memoranda of Interview, S.McRae, 6/7/2018
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 SM-3                      Memoranda of Conversation, S.McRae, 6/7/2018
 SM-4                      Memoranda of Interview, S.McRae, 10/16/2019,
 SM-5                      Exhibits supporting MOI, S.McRae, 10/16/2019
 TK-1                      Grand Jury Testimony of T.King, 6/20/2019
 TK-2                      Interview Notes, T.King
 WS-1                      Grand Jury Testimony of W.Sykes, 10/16/2019
 WS-2                      Memoranda of Interview, W.Sykes, 6/7/2018
 WS-3                      Memoranda of Interview, W.Sykes, 10/16/2019
 WS-4                      Exhibits supporting MOI, W.Sykes, 10/16/2019
 RC-1                      Memoranda of Interview, R.Clark, 8/2/2017
 RC-2                      Memoranda of Interview, R.Clark, 9/12/2017
 BW-1                      Memoranda of Interview, B.Wells, 9/22/2017
 KC-1                      Memoranda of Interview, K.Caldwell, 9/13/2017
 JZ-1                      Memoranda of Interview, J.Zourdos, 8/2/2017
 JZ-2                      Interview Notes, J.Zourdos, 8/2/2017
 JZ-3                      Memoranda of Activity, J.Zourdos, 6/7/2018
 AS-1                      Memoranda of Interview, A.Smith, 7/10/2019
 CS-1                      Memoranda of Interview, C.Siriano, 7/10/2019
 JW-1                      Memoranda of Interview, J.Witherwax, 7/10/2019
 SB-1                      Memoranda of Interview, S.Britton, 7/10/2019
 WB-1                      Memoranda of Interview, W.Bonvicino, 7/10/2019
 CB-1                      Grand Jury Testimony of C.Bole, 7/26/2018
